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         February 21, 2023

         VIA ECF
         Magistrate Judge Peggy Kuo
         United States District Court
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, NY 11201

                   Re:       Consent Motion to Amend the Complaint to Add Defendants Tafawa Lee, Tiffany
                             Lev, Bryant Quintana, Jimmy Calle, Temple Hyman, Melissa Swigger, Blanca
                             Garcia, and Richard Cappetta (collectively “Employee Defendants”), to Withdraw
                             Defamation and False Light Claims, and to Add a Claim for Violation of GBL §
                             380-s.

                             Aranias v. SMG Automotive Holdings LLC, et al., Case 1:22-cv-04510-RLM

         Dear Judge Kuo:
                The undersigned represents Eliyahu Aranias in this lawsuit regarding, inter alia, the
         fraudulent “sale” and financing of a vehicle in the name of Plaintiff, without his knowledge or
         consent, and the impermissible pull of his credit report. Defendants are a car dealership, its
         principal, and John Doe employees of the dealership, now identified as Tafawa Lee, Tiffany Lev,
         Bryant Quintana, Jimmy Calle, Temple Hyman, Melissa Swigger, Blanca Garcia, and Richard
         Cappetta (collectively “Employee Defendants”) (collectively “SMG”) and the putative finance
         company Chrysler Capital, LLC (“Chrysler”).
                 Under Rule 15, a party may amend its pleading once as a matter of course within 21 days
         of service or within 21 days of service of the responsive pleading or a Rule 12 motion, whichever
         is earlier. “In all other cases, a party may amend its pleading only with the opposing party's
         written consent or the court's leave.” Fed. R. Civ. P. 15(a)(2).
                 Defendants have identified the John Doe Defendants as the above-listed Employee
         Defendants, and thus the parties have filed Dkt. No. 31, a stipulation to have Plaintiff filed his
         First Amended Complaint (Dkt. No. 31-01) which (1) adds the Employee Defendants as
         Defendants, (2) withdraws claims for defamation and false light, and (3) adds a claim against all
         Defendants for violation of GBL § 380-s. Additionally the parties requests Defendants have 30
         days to respond to this First Amended Complaint, and a copy of the First Amended Complaint
         with tracked changes is also included.
                FRCP 15(a)(2) states “a party may amend its pleading only with the opposing party's
         written consent or the court's leave.” (emphasis added). Therefore, given that all parties to the
         action have agreed to the amendment by written consent, it appears as though leave of court is
         not required. Wright & Miller, Federal Practice & Procedure: Civil § 1490 (1989) (“The
         pleader’s right to amend is not subject to the court's discretion and the court must permit the
         amendment to be filed.”); Fern v. United States, 213 F.2d 674, 677 (9th Cir.1954) (“Once the

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adverse party has consented to the amendment of a pleading, the court has no control over the
matter under Rule 15(a).”); Fort Howard Paper Co. v. Standard Havens, Inc., 901 F.2d 1373,
1379 (7th Cir.1990) (pleader’s right to amend after consent of an adverse party is not subject to
the discretion of the court); and Bilmar Drilling, Inc. v. IFG Leasing Co., 795 F.2d 1194, 1199
(5th Cir.1986).
       Even so, the parties do not wish to overstep their bounds and would like to defer to the
Court’s authority in requesting for leave to file Plaintiff’s proposed First Amended Complaint
[Dkt. No. 30-01].
Respectfully,
     /s/
Ahmad Keshavarz

cc:    all counsel of record via ECF
       McGannon, Christian, Esq. via email Christian.McGannon@lewisbrisbois.com

Exhibits:
Exhibit 1: Stipulation
Exhibit A: First Amended Complaint
Exhibit B: First Amended Complaint with Track Changes




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